                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
__________________________________________________________________________

KABIR ELOHIM ISREAL,

                                 Plaintiff,

v.                                                                         Case No. 24-CV-18

KENTON BURTCH, AILEENE CHOVANEC,
HECTOR CLAUDIO and GUY FRALEY,

                        Defendants.
__________________________________________________________________________

       DEFENDANTS’ BRIEF IN SUPPORT OF THEIR MOTION TO DISMISS
                         UNDER FED. R. CIV. P. 12(b)(6)
__________________________________________________________________________

        Defendants, by undersigned counsel, hereby submit their Brief in Support of Defendants’

Motion to Dismiss, pursuant to Fed. R. Civ. P. 12(b)(6).

                                           INTRODUCTION

I.      FACTUAL BACKGROUND:1

        The facts as put forth by Plaintiff in his Complaint are as follows:

        On March 31, 2023, an unknown person shot at Plaintiff, and Plaintiff shot back,

allegedly in self-defense. [ECF 1, ¶¶ 11, 13]. Plaintiff reasonably believed the unknown person

was struck by a bullet. [ECF 1, ¶ 13]. Plaintiff saw Hector Claudio and Aileene Chovanec,

officers with the Milwaukee Police Department, and flagged them down for assistance. [ECF 1,

¶¶ 6, 7, 11].

        Officers Claudio and Chovanec exited the police car and approached Plaintiff. [ECF 1,

14]. Plaintiff informed them his name was Kabir Elohim Isreal, and told them what happened.

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  Although Defendants dispute and/or deny many of the facts alleged by Plaintiff, they will refrain from
any discussion of those factual disputes/denials in this brief on their motion to dismiss, since presentation
of matters outside of the pleadings is not permitted. See Fed. R. Civ. P. 12(d).



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[ECF 1, ¶13]. Both officers had one or both hands on their guns. [ECF 1, ¶¶ 15, 16]. Officer

Claudio, using a hostile and authoritative tone of voice, demanded Plaintiff surrender his gun to

them, even though Plaintiff had no weapon in his hand at that time. [ECF 1, ¶¶ 12, 15]. Plaintiff

did not feel he was free to leave or decline Officer Claudio’s request, so he surrendered his gun

and sat in the back of the police car. [ECF 1, ¶¶ 17, 18]. Officer Claudio locked the back of the

police car, then Officers Claudio and Chovanec radioed dispatch for a warrant check on Plaintiff.

[ECF 1, ¶¶ 19, 20].

       About thirty minutes later, Sergeant Kenton Burtch arrived on the scene. [ECF 1, ¶¶ 9,

21]. Sgt. Burtch spoke to Officers Claudio and Chovanec then, about five to ten minutes later,

told Plaintiff, “You are not under arrest but they will let you go once they can identify you.”

[ECF 1, ¶ 22]. About thirty minutes later, Plaintiff was moved from Officer Claudio’s vehicle to

Detective Guy Fraley’s vehicle, and Det. Fraley told Plaintiff, “You are not under arrest but they

will let you go once they can identify you.” [ECF 1, ¶¶ 8, 22, 23]. About thirty minutes later,

Det. Fraley took Plaintiff back to Officer Claudio’s vehicle and sat Plaintiff in the back seat and

locked the door. [ECF 1, ¶ 23]. About forty-five minutes later, Plaintiff was taken to the

Milwaukee County Jail. [ECF 1, ¶ 24].

       Three days later, Plaintiff posted $7,500 cash bail and was released from the Milwaukee

County Jail. [ECF 1, ¶ 25]. On August 9, 2023, Plaintiff’s case was dismissed. [ECF 1, ¶ 26].

Plaintiff’s gun and passport have not been returned to him. [ECF 1, ¶ 27].

       Defendants request that the Court take judicial notice of the following facts:




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       (1) Plaintiff’s previous legal name was Londale Quintae Strickling and, in 2020, he

legally changed his name to Kabir Elohim Isreal, in In Re: the Name Change of Londale Quintae

Strickling, No. 2020CV000141;2

       (2) Plaintiff had one or more prior felony convictions in the State of Wisconsin at the

time of this incident, and Defendants specifically refer the Court to the following cases: State of

Wisconsin v. Londale Q. Strickling, No. 2002CF001187 (felony Burglary conviction);3 State of

Wisconsin v. Londale Quintae Strickling, No. 2008CF002500 (felony Burglary conviction);4 and

State of Wisconsin v. Londale Quintae Strickling, No. 2015CF000138 (felony Possession of

Burglarious Tools conviction);5 and

       (3) As a result of the incidents Plaintiff discusses in his Complaint, and that Plaintiff has

one of more prior felony convictions, Plaintiff was charged with the felony offense of

“Possession of a Firearm By A Felon” under State of Wisconsin v. Londale Quintae Strickling,

No. 2023CF001349.6

II.    CLAIMS:

       Plaintiff made various claims in his Complaint. [ECF 1]. The Court’s screening order

[ECF 6] determined the following claims could proceed:

       (1) Fourth Amendment claim involving the alleged seizure of his gun by Officer Claudio.

[ECF 6: 6-8, 13; ECF 1, ¶¶ 14-23, 38]. This claim can only be raised under the U.S.



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  https://wcca.wicourts.gov/caseDetail.html?caseNo=2020CV000141&countyNo=40&index=0
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  https://wcca.wicourts.gov/caseDetail.html?caseNo=2002CF001187&countyNo=67&index=0&mode=det
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  https://wcca.wicourts.gov/caseDetail.html?caseNo=2008CF002500&countyNo=40&index=0&mode=det
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  https://wcca.wicourts.gov/caseDetail.html?caseNo=2015CF000138&countyNo=40&index=0&mode=det
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Constitution—not the state constitution, so Plaintiff’s state law claims were dismissed without

prejudice. [ECF 6: 9-10, 15; ECF 1, ¶ 41].

       (2) Fourth Amendment claim involving the alleged seizure pertaining to Plaintiff’s arrest

by Officers Claudio and Chovanec. [ECF 6: 6-8, 13; ECF 1, ¶¶ 24-25, 37]. This claim can only

be raised under the U.S. Constitution—not the state constitution—so Plaintiff’s state law claims

were dismissed without prejudice. [ECF 6: 9-10, 15; ECF 1, ¶ 40].

       (3) Fourth Amendment claim involving the alleged use of excessive force when the

defendant officers “unlawfully detained and arrested [Plaintiff] in a rude, aggressive, and hostile

manner.” [ECF 6: 11, 13; ECF 1, ¶¶ 15-23, 42].

       (4) Fourteenth Amendment due process claim involving the alleged deprivation of

Plaintiff’s handgun and passport, neither of which have been returned to Plaintiff. [ECF 6: 11-12,

14; ECF 1, ¶¶ 15, 18, 27, 39].

       (5) Failure to intervene to protect Plaintiff’s constitutional rights claim against all

defendants. [ECF 6:12-13, 14; ECF 1, ¶¶ 34-35].

                                   STANDARD OF REVIEW

       Rule 12(b)(6) of the Federal Rules of Civil Procedure permits a party to move to dismiss

a complaint due to failure to state a claim upon which relief may be granted. Fed. R. Civ. P.

12(b)(6). A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6) “tests the

sufficiency of the complaint, not the merits of the case.” McReynolds v. Merrill Lynch & Co.,

694 F.3d 873, 878 (7th Cir. 2012). The allegations in the complaint must set forth a “short and

plain statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2).

To survive a motion to dismiss, a complaint must contain sufficient factual matter, accepted as

true, to “state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S.

544, 570 (2007). A claim has facial plausibility when the plaintiff pleads factual content that

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allows the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged. Id. at 556. The plausibility standard is not akin to a “probability requirement,” but it asks

for more than a sheer possibility that a defendant has acted unlawfully. Id. Where a complaint

pleads facts that are “merely consistent with” a defendant's liability, it “stops short of the line

between possibility and plausibility of ‘entitlement to relief.’” Id. at 557 (brackets omitted).

“[T]hreadbare recitals of the elements of a cause of action, supported by mere conclusory

statements,” are insufficient to withstand a 12(b)(6) motion to dismiss. Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009).

                                           ARGUMENT

I.     PLAINTIFF’S FOURTH AMENDMENT RIGHTS WERE NOT VIOLATED BY
       OFFICER CLAUDIO’S SEIZURE OF PLAINTIFF’S GUN FOLLOWING THE
       SHOOTING.

       In his Complaint, Plaintiff alleges his Fourth Amendment rights against unreasonable

search and seizure were violated when, following Plaintiff’s admission to Officers Chovanec and

Claudio that he shot someone, allegedly in self-defense, Officer Claudio “demanded” he

surrender his gun. [ECF 1, ¶¶ 13, 15, 18, 38].

       Defendants deny many of the alleged facts put forth by the Plaintiff, including that

Officer Claudio “demanded” that Plaintiff surrender his gun. Regardless, even if Plaintiff’s

version of the events were correct, for the following reasons—each of which independently

justifies dismissal—Plaintiff’s claims concerning the seizure of his gun should be dismissed

under Rule 12(b)(6) of the Federal Rules of Civil Procedure for failure to state a claim upon

which relief may be granted:




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       A.      Plaintiff Is A Convicted Felon Who Is Not Legally Permitted To Possess A
               Firearm.

       At the time of this incident, Plaintiff already had one or more prior felony convictions in

the State of Wisconsin and was not permitted to possess a firearm, per Wisconsin Statute §

941.29(1m)(a). Indeed, as a result of these incidents, he was charged with “Possession of a

Firearm by A Felon” under Milwaukee County case number 2023CF001349, based on his prior

felony conviction for “Possession of Burglarious Tools,” a Class I felony, in which he was

convicted April 13, 2017. See State of Wisconsin v. Londale Quintae Strickling, No.

2023CF001349.7 Wisconsin Statute § 941.29(1m)(a) has been upheld as constitutional, and does

not violate the Second Amendment of the Constitution. See State v. Roundtree, 2021 WI 1, ¶ 53,

395 Wis. 2d 94, 115, 952 N.W.2d 765, 775.

       Accordingly, Plaintiff did not have a legally recognized right to possess a firearm, and so

the Defendant officers did not violate any of his rights by seizing his gun. As such, his Fourth

Amendment claims concerning seizure of the gun should be dismissed pursuant to Rule 12(b)(6)

of the Federal Rules of Civil Procedure.

       B.      As A Matter Of Officer And/Or Public Safety, The Officers Were Entitled
               To Take Possession Of The Firearm.

       Defendant officers responded to the scene of a shooting, where Plaintiff informed them

he’d shot someone. [ECF 1, ¶¶ 6, 7, 11, and 13].

       The Fourth Amendment provides “[t]he right of the people to be secure in their persons,

houses, papers, and effects, against unreasonable searches and seizures, shall not be violated [. .

.]” U.S. Const. amend. IV. Warrantless searches and seizures are constitutionally permissible in

certain situations, including where exigent circumstances exist. Mincey v. Arizona, 437 U.S. 385,


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  Plaintiff’s name was previously “Londale Quintae Strickling” before legally changing it to “Kabir
Elohim Isreal” in 2020. See In Re: the Name Change of Londale Quintae Strickling, No. 2020CV000141.

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394 (1978). “Exigent circumstances exist if a[n] officer had an objectively ‘reasonable belief that

there was a compelling need to act and no time to obtain a warrant.’” United States v. Bell, 500

F.3d 609, 613 (7th Cir. 2007) (quoting United States v. Andrews, 442 F.3d 996, 1000 (7th Cir.

2006)). For example, where police reasonably believe that their safety or the safety of the public

may be threatened, exigent circumstances exist. United States v. Webb, 83 F.3d 913, 916 (7th

Cir. 1996).

       The presence of a gun where a person could access it and potentially use it against

officers or injure themselves or others with it has been held to be an exigent circumstance

justifying warrantless seizure of a gun. See United States v. Richmond, 924 F.3d 404, 417 (7th

Cir. 2019) (concluding that exigent circumstances justified warrantless seizure of a handgun

from the threshold of the defendant's residence during an encounter on his porch where officers

reasonably believed that the defendant may lunge toward what the officers suspected was a gun,

and unknown duplex occupants might access the gun by opening the front door and picking it up

off of the threshold (citing Kentucky v. King, 563 U.S. 452, 466 (2011)). See also New York v.

Quarles, 467 U.S. 649, 657 (1984) (holding a gun that the suspect concealed somewhere in a

supermarket before being apprehended was a public safety concern because the suspect’s

accomplice might make use of it, or a customer or employee might later come upon it); United

States v. Huddleston, 593 F.3d 596, 600-601 (7th Cir. 2010) (noting that a number of other

circuits have found the presence of guns to justify searches and seizures on the basis of exigent

circumstances, and holding that the officers’ warrantless search of a suspect fell within the

exigent circumstances exception to the warrant requirement because the trespassing suspect,

although asleep, was holding a gun and could wake up at any time); United States v. Hopewell,

498 F. App'x 609, 612 (7th Cir. 2012) (Holding exigent circumstances justified the search of a



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suspect’s backpack because the officer who searched the bag was experienced in firearms safety

and knew that the suspect had displayed, loaded, and hidden in his backpack the revolver, so the

officer could reasonably conclude that the gun posed a safety risk and was justified in searching

the backpack); and United States v. Kempf, 400 F.3d 501, 503 (7th Cir. 2005) (finding officers'

safety justification for warrantless entry of house when they believed defendant could access

potentially loaded gun inside was reasonable).

       Accordingly, because Plaintiff told officers he’d just shot someone, it was reasonable for

the officers to assume he had a gun and for the officers to seize that gun as a matter of officer

safety and/or public safety, and so his Fourth Amendment claims on those grounds should be

dismissed pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure.

       C.      The Gun Is Evidence Of A Potential Crime.

       Defendant officers responded to the scene of a shooting in which Plaintiff informed them

that he’d shot someone. [ECF 1, ¶¶ 6, 7, 11, and 13]. Although Plaintiff claimed the shooting

was in self-defense [see ECF 1, ¶¶ 11, 13], Officers were not required to accept that explanation

at face value, and still had a duty to investigate and collect any items that could be evidence of a

crime. See Terry v. Ohio, 392 U.S. 1, 23 (1968) (noting it would be “poor police work” for an

experienced officer to give up an investigation of suspicious behavior solely because that

behavior might also have an innocent explanation).

       It was constitutionally permissible for officers to seize the gun, as it constituted evidence

of a potential crime, and a threat of the imminent destruction of evidence provides exigent

circumstances for seizure without a warrant. See United States v. Rucker, 540 F. Supp. 3d 798,

802 (N.D. Ill. 2021) (citing United States v. Haldorson, 941 F.3d 284, 294-295 (7th Cir. 2019)

and United States v. Huddleston, 593 F.3d 596, 600 (7th Cir. 2010)).



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       Alternatively, regardless of any threat of imminent destruction of evidence, it is

constitutionally permissible for police to seize an item of evidentiary value, without a warrant, if

it is in a public place or in plain view: “Objects such as weapons or contraband found in a public

place may be seized by the police without a warrant. The seizure of property in plain view

involves no invasion of privacy and is presumptively reasonable, assuming that there is probable

cause to associate the property with criminal activity.” Payton v. New York, 445 U.S. 573, 586-

587 (1980). A different situation is presented, however, when the property in open view is

“situated on private premises to which access is not otherwise available for the seizing officer.”

Id. at 587 (quoting G.M. Leasing Corp. v. United States, 429 U.S. 338, 354, (1977)). As these

cases indicate, “plain view” provides grounds for seizure of an item when an officer's access to

an object has some prior justification under the Fourth Amendment. Texas v. Brown, 460 U.S.

730, 737-739 (1983).

       The Supreme Court has articulated three requirements for a warrantless seizure of

incriminating evidence: (1) the officer may not have violated the Fourth Amendment in arriving

at the place from which the evidence could be plainly viewed; (2) the item must have been in

plain view; and (3) its incriminating character must also be immediately apparent. See Horton v.

California, 496 U.S. 128, 136 (1990); United States v. Curlin, 638 F.3d 562, 566 (7th Cir. 2011).

       Here, the officers did not violate the Fourth Amendment in arriving at the place from

which the gun could be plainly viewed: Plaintiff claims he saw Officers Chovanec and Claudio

in their police car and flagged them down for assistance. [ECF 1, ¶¶ 6, 7, 11]. This suggests

Plaintiff was outside and in a public area, since he was able to see the officers operating their

vehicle and to physically get their attention. Likewise, the Criminal Complaint filed in State of

Wisconsin v. Londale Quintae Strickling, No. 2023CF001349, a case for which Defendants



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previously requested that this Court take judicial notice, suggests the incidents took place in a

public area, with officers responding to the area of 3624 W. North Ave. in Milwaukee following

a shooting complaint and ShotSpotter activation, being flagged down by Plaintiff while still in

their police vehicle, and told that the shooting happened while Plaintiff and a tow truck driver

were trying to hook up Plaintiff’s van so it could be towed away. The officers, who encountered

Plaintiff as they were driving to the scene of the shooting, did not violate the Fourth Amendment,

since they were in a public area where Plaintiff had no reasonable expectation of privacy. See

United States v. Knotts, 460 U.S. 276 (1983) (Noting that a person travelling in an automobile on

public thoroughfares has no reasonable expectation of privacy in their movements from one

place to another); California v. Ciraolo, 476 U.S. 207, 213 (1986) (citing Knotts and stating,

“The Fourth Amendment protection of the home has never been extended to require law

enforcement officers to shield their eyes when passing by a home on public thoroughfares. Nor

does the mere fact that an individual has taken measures to restrict some views of his activities

preclude an officer's observations from a public vantage point where he has a right to be and

which renders the activities clearly visible.”); and California v. Greenwood, 486 U.S. 35, 41

(1988) (“[P]olice cannot reasonably be expected to avert their eyes from evidence of criminal

activity that could have been observed by any member of the public.”).

       And, regardless of whether Plaintiff was in a public area or one in which a person would

ordinarily have a reasonable expectation of privacy, the officers did not violate the Fourth

Amendment by arriving there since Plaintiff flagged them down, requesting that they come to

that area and assist him. See Katz v. United States, 389 U.S. 347, 351 (1967) (internal citations

omitted) (Stating, “What a person knowingly exposes to the public, even in his own home or

office, is not a subject of Fourth Amendment protection.”)



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       Here, the gun was in plain view: Plaintiff informed the officers that he’d just shot

someone [ECF 1, ¶13], which put the officers on notice that he had a gun. Plaintiff claims he was

told to surrender his gun to the officers and did in fact surrender it [ECF 1, ¶¶ 15, 18], effectively

putting the gun in plain view. Texas v. Brown stated:

           “The Coolidge [v. New Hampshire, 403 U.S. 443, 465 (1971)] plurality
           observed, ‘It is important to keep in mind that, in the vast majority of cases,
           any evidence seized by the police will be in plain view, at least at the
           moment of seizure,’ simply as ‘the normal concomitant of any search, legal
           or illegal.’[. . .] The question whether property in plain view of the police
           may be seized therefore must turn on the legality of the intrusion that
           enables them to perceive and physically seize the property in question.”

Texas v. Brown, 460 U.S. at 737. It explained, “‘Plain view’ is perhaps better understood,

therefore, not as an independent ‘exception’ to the warrant clause, but simply as an extension of

whatever the prior justification for an officer's ‘access to an object’ may be.” Texas v. Brown,

460 U.S. at 738-739. As discussed in a previous section of this brief, the officers’ prior

justification for access to the gun was officer safety and/or public safety. Once the gun was

recovered from Plaintiff on this basis, it was considered to be “in plain view.”

       Here, the gun’s incriminating character was immediately apparent to the officers, as

Plaintiff informed them that he’d shot someone with it [ECF 1, ¶ 13], and since shooting a

person is a crime, as is carrying a concealed weapon. See Wis. Stat. §§ 940.01 and 939.32

(attempted intentional homicide), 941.20(1)(c) (endangering safety by use of a dangerous

weapon), 941.30 (recklessly endangering safety), and 941.23(2) (carrying concealed weapon).

       Accordingly, since the warrantless seizure of Plaintiff’s gun was constitutionally

permissible since it was evidence of a crime, Plaintiff fails to state a valid claim for relief

concerning the seizure of his gun, and so his Fourth Amendment claims on those grounds should

be dismissed pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure.



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II.    PLAINTIFF’S ARREST DID NOT VIOLATE HIS FOURTH AMENDMENT
       RIGHT AGAINST UNREASONABLE SEIZURE.

       In his Complaint, Plaintiff alleges his Fourth Amendment right against unreasonable

search and seizure were violated when, following Plaintiff’s admission to Officers Chovanec and

Claudio that he shot someone, the defendant officers detained him and subsequently arrested him

despite that Plaintiff claimed the shooting was in self-defense. [ECF 1, ¶¶ 13-24, 37].

       Plaintiff’s Complaint suggests he was arrested for shooting someone in self-defense, but

that is incorrect: Defendants request that the Court take judicial notice of State of Wisconsin v.

Londale Quintae Strickling, No. 2023CF001349, which shows Plaintiff8 was charged with a

felony count of “Possession of a Firearm By A Felon” pursuant to Wis. Stat. § 941.29(1m)(a), in

connection with these incidents.9

       Regardless, under either scenario, Plaintiff’s Fourth Amendment rights were not violated

by his detention and subsequent arrest: The facts as put forth by Plaintiff support various

charges, including but not necessarily limited to: attempted intentional homicide (see Wis. Stat.

§§ 940.01 and 939.32), endangering safety by use of a dangerous weapon (see Wis. Stat. §

941.20)(1)(c)), recklessly endangering safety (see Wis. Stat. § 941.30), and carrying concealed

weapon (see Wis. Stat. § 941.23(2)). Although Plaintiff claims he acted in self-defense, a claim

of self-defense does not prevent the State from pursuing criminal charges but, rather, is an

affirmative defense to be raised at trial which will preclude a finding of guilt if the finder of fact

determines the State did not successfully rebut the defense. See Brown v. Eplett, 48 F.4th 543,

553-554 (7th Cir. 2022) (internal citations omitted) (stating, “As a general matter, self-defense is


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  As stated in a previous footnote, Plaintiff’s name was previously “Londale Quintae Strickling” before
legally changing it to “Kabir Elohim Isreal” in 2020, per In Re: the Name Change of Londale Quintae
Strickling, No. 2020CV000141.
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  https://wcca.wicourts.gov/caseDetail.html?caseNo=2023CF001349&countyNo=40&index=0&mode=det
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regarded as an affirmative defense in Wisconsin law, in that it supplies a defense to the charged

crime even where the State has otherwise succeeded in establishing each of the elements of that

crime beyond a reasonable doubt[. . .] Once a defendant establishes the existence of a statutory

affirmative defense (including self-defense)[. . .] Wisconsin law, independent of federal due

process requirements, imposes on the State the burden of disproving the defense beyond a

reasonable doubt.”)

       Accordingly, based on the facts as alleged by Plaintiff, there were multiple grounds upon

which to validly detain and arrest Plaintiff. Likewise, under the facts which Defendants request

be judicially noticed by the Court, the detention and subsequent arrest of Plaintiff are valid

because Plaintiff, who had previously been convicted of at least one felony in Wisconsin,

committed a criminal offense just by the mere possession of the gun. See Wis. Stat. §

941.29(1m)(a).

       Under either scenario, Plaintiff fails to state a valid claim for relief concerning his

detention and arrest, and so his Fourth Amendment claims on those grounds should be dismissed

pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure.

III.   DEFENDANTS DID NOT USE EXCESSIVE FORCE IN VIOLATION OF THE
       FOURTH AMENDMENT.

       In his Complaint, Plaintiff alleged a state constitutional claim “to be free from assault and

battery” and claimed that right was violated when the defendant officers “unlawfully detained

and arrested [him] in a rude, aggressive, and hostile manner.” [ECF 1, ¶ 42]. In its screening

order, the Court construed the claim as an excessive force claim, and stated it would permit the

claim to proceed as a Fourth Amendment claim, noting that it could not proceed as a state

constitutional claim because money damages are not permitted for such claims under state law.

[ECF 6: 10-11].

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       At the outset, the Court stated it “has some doubt about whether any Defendants’ verbal

aggression and [Chovanec] and Claudio having their hands on their guns (but not having guns

drawn), resulting in Plaintiff’s unspecified ‘injuries,’ will ultimately sustain a finding of

excessive force,” but noted, “However, it would not be prudent to dismiss such a claim at this

stage solely on the basis that Defendants seemingly had little, if any, physical contact with

Plaintiff and Plaintiff’s injuries appear to have been minimal.” [ECF 6: 11].

       Defendants deny having their hands on their guns and being “rude,” “aggressive” or

“hostile” towards Plaintiff during his detention and subsequent arrest, and deny using excessive

force. Regardless, even if Plaintiff’s version of the events were correct and Defendants, in

responding to reports of a shooting, approached Plaintiff with their hands on their guns and were

verbally aggressive towards Plaintiff in responding to reports of a shooting, as Plaintiff claims,

this is insufficient to support a claim of excessive force under the Fourth Amendment, so he has

failed to state a claim upon which relief may be granted.

       Whether the officers' use of force in the course of a seizure violates the Fourth

Amendment is judged by an objective reasonableness standard. Graham v. Connor, 490 U.S. 386

(1989). Reasonableness is judged by the totality of the circumstances, including “the severity of

the crime at issue, whether the suspect poses an immediate threat to the safety of the officers or

others, and whether he is actively resisting arrest or attempting to evade arrest by flight.” Id. at

396. “The calculus of reasonableness must embody allowance for the fact that police officers are

often forced to make split-second judgments—in circumstances that are tense, uncertain, and

rapidly evolving—about the amount of force that is necessary in a particular situation.” Id. at

396-397. “While excessive force does not require injury, no injury gives weight to the assertion

of no excessive force.” Meyer v. Robinson, 992 F.2d 734, 739 (7th Cir. 1993).



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       In Worthon v. Dowhen, 81 F.3d 164 (7th Cir. 1996), a correctional officer called the

plaintiff various offensive racial slurs when preparing him for transport to court, and the plaintiff

filed suit under 42 U.S.C. § 1983 alleging “verbal abuse.” The district court dismissed the

plaintiff’s verbal abuse claim under Fed. R. Civ. P. 12(b)(6), and the Seventh Circuit Court of

Appeals affirmed, reasoning, “Although racial slurs are unprofessional and deplorable, they do

not constitute a deprivation of constitutionally protected rights, Patton v. Przybylski, 822 F.2d

697, 700 (7th Cir. 1987); McDowell v. Jones, 990 F.2d 433, 434 (8th Cir.1993), and an allegation

of such a deprivation is an essential element of a § 1983 action.” Worthon, supra. Gavin v.

Ammons, 21 F.3d 430 (7th Cir. 1994), citing Patton, likewise held that verbal threats are not

enough to establish a federal constitutional claim. Id.

       Plaintiff has not alleged any injury that occurred as a result of the alleged use of

excessive force, and indeed does not even allege any physical force was used. Per Meyer, this

gives weight to the assertion that there was no excessive force. And if offensive racial slurs

directed towards an inmate awaiting transport to court are not sufficient to constitute a

deprivation of constitutionally protected rights, as was the case in Worthon, then certainly

officers being “rude,” “aggressive,” and “hostile,” to someone who admitted they’d just shot

someone is insufficient to establish any constitutional violations.

       Accordingly, this claim should be dismissed pursuant to Rule 12(b)(6) of the Federal

Rules of Civil Procedure.

IV.    ANY ALLEGED FAILURE BY DEFENDANTS TO RETURN PLAINTIFF’S GUN
       AND PASSPORT DO NOT VIOLATE PLAINTIFF’S FOURTEENTH
       AMENDMENT RIGHTS TO DUE PROCESS.

       In his Complaint, Plaintiff alleges his Fourteenth Amendment right to due process was

violated when the defendant officers “unlawfully seized, then permanently deprived him” of his



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handgun and passport. [ECF 1, ¶¶ 15, 18, 39]. He stated that neither item has been returned to

him yet. [ECF 1, ¶ 27].

       For the following reasons, each of which independently justifies dismissal, Plaintiff’s

claims concerning the Defendants’ failure to return his gun and passport should be dismissed

pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure for failure to state a claim upon

which relief may be granted:

       A.      Plaintiff’s Claims For Deprivation Of Property Are Not Actionable Under §
               1983 Because Adequate State Remedies Are Available to Redress The
               Alleged Deprivation.

       Claims for deprivation of property are not actionable under § 1983 if adequate state

remedies are available to redress the deprivation, even if the property is taken intentionally.

Foster v. Tanem, No. 21-CV-1244-PP, 2022 WL 3647909, at *4 (E.D. Wis. Aug. 24, 2022)

(internal citations omitted). Put differently, “‘[u]nauthorized deprivations of property violate the

due-process clause only when no post-deprivation procedures are available.’” Id. (quoting

Washington v. Campbell, No. 20-CV-990, 2021 WL 2188358, at *4 (E.D. Wis. May 28, 2021)

and Morris v. Scott, 840 F. App'x 14, 15 (7th Cir. 2021)). The state of Wisconsin “provides

several post-deprivation procedures for challenging the taking of property.” Cole v. Litscher, 343

F. Supp. 2d 733, 742 (W.D. Wis. 2004) (citing Wis. Const. art. I, § 9; Wis. Stat. §§ 810 and 893);

see Washington, 2021 WL 2188358, at *4 (citing Wis. Stat. § 968.20).

       Accordingly, because the state of Wisconsin provides adequate post-deprivation

procedures for challenging the taking of property, rendering Plaintiff’s § 1983 claims not

actionable, his claims should be dismissed under Rule 12(b)(6) of the Federal Rules of Civil

Procedure for failing to state a claim upon which relief may be granted.




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       B.      Plaintiff Fails To Establish He Has Followed The Appropriate Procedures To
               Request The Return Of His Property.

       Due process requires, at a minimum, that “deprivation of life, liberty or property by

adjudication be preceded by notice and opportunity for hearing appropriate to the nature of the

case.” Mullane v. Central Hanover Bank & Trust Co., 339 U.S. 306, 313 (1950). That notice

must be “reasonably calculated, under all the circumstances, to apprise interested parties of the

pendency of the action and afford them an opportunity to present their objections.” Mullane, 339

U.S. at 314. When state law remedies are established by published, generally available state

statutes and case law, no individualized notice of those procedures is required. City of West

Covina v. Perkins, 525 U.S. 234, 241 (1999). Wisconsin Statute § 968.20 provides state law

remedies for “return of property frozen or seized.” Id.

       Defendants note that, in order to have seized property returned to him, Plaintiff must file

a “Petition for Return of Property” with the Milwaukee County Circuit Court, Criminal

Division.”10 This form references Wisconsin Statute § 968.20, and simplifies the process for

petitioning for return of property.

       Plaintiff’s claim that he was denied due process with respect to the return of his property

fails because he has a remedy available to be heard by the court regarding return of his property,

but has not demonstrated that he availed himself of that remedy. Plaintiff does not state what, if

anything, he did to seek return of his property, and has not demonstrated that he ever completed

and filed this form or otherwise filed any motion with the circuit court requesting the return of

his gun and/or passport. If Plaintiff did not affirmatively request return of his property via the

appropriate channels, he cannot establish he was denied due process of law, as there is no



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 https://county.milwaukee.gov/files/county/courts/Criminal--
Traffic/PetitionforReturnofPropertyForm.pdf

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deprivation of due process where he did not take the steps necessary to properly put the matter

before the circuit court for consideration and decision.

         C.     None Of The Named Defendants Were Authorized To Return Plaintiff’s
                Gun, And None Were Required To Return His Passport.

         Pursuant to Wisconsin Statute § 968.20, Plaintiff’s remedy to obtain return of his

property is with the circuit court in the county in which his property was seized. Id. Only the

circuit court has the authority to authorize release of Plaintiff’s gun. Although the officers may

have had discretion to release Plaintiff’s passport, they were not required to do so absent a court

order.

         Once the motion for return of property is filed with the circuit court, the circuit court

must hold a hearing and permit all persons who have or may have an interest in the property to

be heard. See Wis. Stat. § 968.20(1g). Pursuant to Wisconsin Statute § 968.20(2), the only

situation in which an officer may return property to the person from whom it was seized without

the requirement of a hearing is when the property is not required for evidence or use in further

investigation, and only if that property is not contraband or property covered under Wisconsin

Statute §§ 968.20(1m) or 968.20(1r). Plaintiff’s gun falls under Wisconsin Statute §

968.20(1m)(d) because Plaintiff has one or more prior felony convictions in the State of

Wisconsin and, as such, is prohibited from possessing a firearm under state law (see Wis. Stat. §

941.29(1m)(a)). Although Wisconsin Statute § 968.20(2) appears to give officers authority to

return Plaintiff’s passport without the requirement of a hearing, provided it is not required for

evidence or use in further investigation, officers were not required to do so, in which case

Plaintiff still would have been obligated to follow the procedures set forth in Wisconsin Statute §

968.20(1) (requiring that an application for the return of property be filed with the circuit court

for the county in which the property was seized) before his property could be released. See State


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v. Jones, No. 2023AP1535-CR, 2024 WL 2198150, at *6 (Wis. Ct. App. May 16, 2024) (Noting

the general presumption that the use of the word “may” in a statute confers discretion on an

actor, but does not mandate any particular act, and holding, “On its face, § 968.20(2) allows

officers, in their discretion, to return certain types of seized property under certain circumstances,

but it does not mandate that the State return any property under any circumstances.”).

       Accordingly, because the named defendants have no legal authority to release Plaintiff’s

gun and no obligation to release Plaintiff’s passport absent a properly-filed motion for return of

property under Wisconsin Statute § 968.20 and ensuing order from the court, any claims against

them must be dismissed for failure to state a claim upon which relief may be granted.

       D.      Plaintiff Is Not Entitled To Have His Gun Returned.

       For the following reasons, each of which is independently sufficient, Plaintiff is not

entitled to have his gun returned to him:

               (1)     Plaintiff is a convicted felon.

       As noted earlier in this brief along with Defendants’ request that the Court take judicial

notice, at the time of this incident Plaintiff already had one or more prior felony convictions in

the State of Wisconsin. Given Plaintiff’s status as a convicted felon, he was not permitted to

possess a firearm, per Wisconsin Statute § 941.29(1m)(a). Indeed, as a result of these incidents,

Plaintiff was charged with “Possession of a Firearm By A Felon” under State of Wisconsin v.

Londale Quintae Strickling, No. 2023CF001349,11 based on his prior felony conviction for

“Possession of Burglarious Tools,” a Class I felony, in which he was convicted April 13, 2017

under State of Wisconsin v. Londale Quintae Strickling, 2015CF000138.12


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   https://wcca.wicourts.gov/caseDetail.html?caseNo=2023CF001349&countyNo=40&index=0&mode=d
etails
12
   https://wcca.wicourts.gov/caseDetail.html?caseNo=2015CF000138&countyNo=40&index=0&mode=d
etails

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       Because Plaintiff has one or more prior felony convictions in the State of Wisconsin and,

as such, is not permitted to possess a firearm (see Wis. Stat. § 941.29(1m)(a)), he is not entitled

to have his gun returned to him. See Wis. Stat. § 968.20(1)(d). Property which may not be

returned to an owner under Wisconsin Statute § 968.20(1m) must be disposed of under

Wisconsin Statute §§ 968.20(3) and (4). See Wis. Stat. § 968.20(1m)(e).

               (2)     The gun is evidence of a crime.

       According to the facts as put forth by Plaintiff, the gun was used to shoot at someone.

Although Plaintiff alleges he shot in self-defense, after being shot at first, that is merely a

defense to a crime charged, and does not preclude the State from pursuing criminal charges. See

Brown v. Eplett, supra. It is ultimately up to a jury to determine whether a defendant acted in

self-defense. See State v. Stietz, 2017 WI 58, ¶15, 375 Wis. 2d 572, 895 N.W.2d 796 (requiring

jury instruction on self-defense when a reasonable jury could find that a prudent person in the

position of the defendant under the circumstances existing at the time of the incident could

believe that he was exercising the privilege of self-defense).

       Because the gun may be reasonably needed as evidence, and all proceedings and

investigations in which it might be required have not been completed,13 the court may not need

to return it even if Plaintiff were lawfully permitted to possess it (which he is not). See Wis. Stat.

§§ 968.20(1g)(a) and (b).

V.     THERE WERE              NO      CONSTITUTIONAL             VIOLATIONS          REQUIRING
       INTERVENTION.

       In his Complaint, Plaintiff alleges “at all times relevant herein [Chovanec], Claudio,

Burtch, and Fraley were all in a position to intervene but failed to although they knew or should


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  See     State   of    Wisconsin     v.    Londale      Quintae      Strickling,     No. 2023CF001349
(https://wcca.wicourts.gov/caseDetail.html?caseNo=2023CF001349&countyNo=40&index=0&mode=det
ails) (Case was dismissed without prejudice, with the State free to re-file the charges).

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have known that [Plaintiff’s] constitutionally protected rights were being violated.” [See ECF 1,

¶ 34].

         A police officer, whether supervisory or nonsupervisory, who is present and fails to

intervene to prevent other officers from infringing constitutional rights of citizens is liable under

§ 1983 if that officer had reasonable opportunity to intervene to prevent harm from occurring and

if the officer had reason to know that excessive force was being used, that citizen has been

unjustifiably arrested, or that any constitutional violation has been committed by law

enforcement official. Yang v. Hardin, 37 F.3d 282, 285 (7th Cir. 1994) (citations omitted).

         As analyzed and discussed in other sections/subsections of this brief, the officers did not

violate Plaintiff’s constitutional rights. The Defendants’ actions were constitutionally permissible

and, as such, there was no need for any officers to intervene on Plaintiff’s behalf to protect his

rights that they had no reason to believe were being violated and, in fact, were not violated.

         Accordingly, this claim should be dismissed pursuant to Rule 12(b)(6) of the Federal

Rules of Civil Procedure.

VI.      REGARDLESS OF WHETHER ANY CONSTITUTIONAL VIOLATIONS
         ACTUALLY OCCURRED, DEFENDANTS ARE SHIELDED BY THE
         DOCTRINE OF QUALIFIED IMMUNITY, BECAUSE THERE WAS NO
         PRECEDENT CLEARLY ESTABLISHING THAT A FELON IN POSSESSION
         OF A FIREARM WHO WAS INVOLVED IN A SHOOTING SHOULD NOT
         HAVE BEEN DETAINED OR ARRESTED, AND SHOULD NOT HAVE HAD HIS
         GUN AND PASSPORT SEIZED.

         An official sued under § 1983 is entitled to qualified immunity unless it is shown that the

official violated a statutory or constitutional right that was “clearly established” at the time of the

challenged conduct. Ashcroft v. al–Kidd, 563 U.S. 731 (2011). Qualified immunity exists to

protect public servants from liability for reasonable mistakes made while performing public

duties. See Denius v. Dunlap, 209 F.3d 944, 950 (7th Cir. 2000). In Hunter v. Bryant, 502 U.S.



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224 (1991), the United States Supreme Court stressed the importance of resolving immunity

questions at the earliest possible stage of litigation, and is an issue that should be decided by the

court long before trial. Id.

          Defeating qualified immunity requires: (1) conduct violating the plaintiff’s constitutional

or statutory rights that is: (2) clearly established at the time of the violation such that a

“reasonable official would understand that what he is doing violates that right.” Anderson v.

Creighton, 483 U.S. 635, 640 (1987). The Court’s decision in Pearson v. Callahan, 555 U.S.

223, 242-243 (2009), encouraged courts to begin with the substantive constitutional violation,

but they are also free to consider first whether the right is clearly established if doing so will

conserve judicial resources. Whether the law was clearly established at a specific time is a

question of law that must be answered by the Court, as opposed to a jury. See Pearson, 555 U.S.

at 232.

          A defendant cannot be said to have violated a clearly established right unless the right's

contours were sufficiently definite that any reasonable official in the defendant's shoes would

have understood that he was violating it. Plumhoff v. Rickard, 572 U.S. 765, 778-779 (2014)

(citing Ashcroft, 563 U.S. at 741). In other words, “existing precedent must have placed the

statutory or constitutional question” confronted by the official “beyond debate.” Id. In

determining whether a right was clearly established, the Supreme Court has “‘repeatedly told

courts … not to define clearly established law at a high level of generality,’ since doing so avoids

the crucial question whether the official acted reasonably in the particular circumstances that he

or she faced.” Plumhoff, 572 U.S. at 780 (quoting Ashcroft, 563 U.S. at 742). The clearly

established law must be “particularized” to the facts of the case, otherwise “[p]laintiffs would be




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able to convert the rule of qualified immunity ... into a rule of virtually unqualified liability

simply by alleging violation of extremely abstract rights.” Anderson, 483 U.S. at 639-640.

       As stated in the previous sections, there were no constitutional violations, because: (1)

There were multiple constitutionally permissible grounds upon which officers could seize

Plaintiff’s gun following the shooting (e.g., Plaintiff was a convicted felon who was not legally

permitted to possess a firearm, officers were justified in taking it as a matter of officer safety,

and the gun was evidence of a potential crime); (2) Plaintiff’s detention and arrest were

constitutionally permissible under either the scenario alleged by Plaintiff (e.g., admitting to

officers he shot at someone) or the scenario that actually occurred as shown in the judicially-

noticed case involving possession of a firearm by a felon; (3) even under the facts alleged by

Plaintiff (e.g., officers arriving at the scene of the shooting and being told by Plaintiff that he

shot someone, then putting their hands on their guns and demanding that Plaintiff surrender his

gun, detaining him in their vehicle and eventually arresting him) he has not established excessive

force was used; and (4) for various reasons (e.g., deprivation of property not being actionable

under § 1983 where adequate state law remedies are available to redress the alleged deprivation,

failure to follow the appropriate procedures to request return of property, that none of the named

Defendants have any authority and/or obligation absent a court order to return Plaintiff’s

property once it was taken into evidence, and that Plaintiff was not entitled to have his gun

returned because he is a convicted felon who cannot legally possess a gun and/or because the gun

is evidence of a crime) any alleged failure by Defendants to return Plaintiff’s property did not

violate Plaintiff’s due process rights.

       Regardless, even if Plaintiff could establish a constitutional violation occurred,

Defendants are shielded by the doctrine of qualified immunity because Plaintiff fails to establish



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the facts he put forth violated any clearly established constitutional rights. There is no clearly

established law that states that it is constitutionally impermissible for police, upon arriving at the

scene of a shooting and being told by a person that he shot someone, to demand that the person

surrender their gun, take the person’s ID (in this case, a passport), detain them in a police car,

and then ultimately arrest them.

         Because Defendants did not violate any “clearly established right” of Plaintiff, they are

protected from suit by the doctrine of qualified immunity. Accordingly, this Court should find

that the Defendants are entitled to qualified immunity, and should dismiss the Plaintiff’s

Complaint with prejudice pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, for

failure to state a claim upon which relief may be granted.

                                          CONCLUSION

         For the reasons set forth above, Defendants respectfully request that the Court grant this

Motion to Dismiss and dismiss all claims against the Defendants with prejudice.

         Dated and signed at Milwaukee, Wisconsin this 22nd day of May, 2024.

                                                      EVAN C. GOYKE
                                                      City Attorney

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